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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                         RICHMOND DIVISION


ROY COCKRUM, et al.,

                 Plaintiffs,
                                                    Case No. 3:18-cv-484-HEH
v.
                                                      Date: November 8, 2018
DONALD J. TRUMP FOR PRESIDENT,
INC.,

                 Defendant.




     MOTION FOR LEAVE OF FORMER NATIONAL SECURITY OFFICIALS
           AS AMICI CURIAE IN SUPPORT OF NEITHER PARTY


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       Proposed amici curiae, a group of former national security officials identified below,

respectfully submit this motion seeking leave to file under Local Civil Rule 7 the accompanying

amicus curiae brief attached as an exhibit in support of neither party in the above-captioned case.

       1.      This Court has recognized that district courts have “broad discretion in deciding

whether to allow a non-party to participate as an amicus curiae.” Tafas v. Dudas, 511 F.Supp.2d

652, 659 (E.D. Va. 2007); see also Perry-Bey v. City of Norfolk, Virginia, No. 2:08cv100, 2008

WL 11348007 (E.D. Va. Aug. 14, 2008) (“[D]istrict courts possess the inherent authority to

appoint ‘friends of the court’ to assist in their proceedings (citations and quotations omitted).

Amicus briefs “have been allowed at the trial level where they provide helpful analysis of the

law, they have a special interest in the subject matter of the suit, or existing counsel is in need of

assistance.” Tafas, 511 F.Supp.2d at 659 (citations and quotations omitted); see also Perry-Bey,

2008 WL 11348007, at *3 (amici should be approved where “could be helpful to the Court in

addressing some of the issues raised by the parties”); Jin v. Ministry of State Security, 557

F.Supp.2d 131, 137 (D.D.C. 2008) (district court may approve a motion to file an amicus curiae

brief “when the amicus has unique information or perspective that can help the court beyond the

help that the lawyers for the parties are able to provide”).

       2.      Proposed amici curiae are former national security, foreign policy and intelligence

officials with decades of experience in Russian security and intelligence practices. They have

served at senior levels in the administrations of Presidents of both parties, including in senior

roles in the intelligence agencies of the United States. They have devoted decades to combating

the threats the United States faces in a dynamic and dangerous world. Amici do not take a

position on the specific allegations in the Complaint in this case. They write instead to offer

their unique expertise and perspective, informed by their decades of work inside the U.S.




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government on intelligence and foreign policy matters involving the Russian government, on a

specific question of national security that is relevant to the case and may bear on the Court’s

consideration—whether and how Russia uses local actors inside a country to facilitate “active

measures” or disinformation campaigns.

         3.     Proposed amici are:

a.       John O. Brennan served as Director of the Central Intelligence Agency from 2013 to
         2017. He previously served as Deputy National Security Advisor for Homeland Security
         and Counterterrorism and Assistant to the President from 2009 to 2013.

b.       William J. Burns served as Deputy Secretary of State from 2011 to 2014. He previously
         served as Under Secretary of State for Political Affairs from 2008 to 2011, and as U.S.
         Ambassador to Russia from 2005 to 2008.

c.       Michael Carpenter served as Deputy Assistant Secretary of Defense for Russia, Ukraine,
         and Eurasia from 2015 to 2017. He previously served as a foreign policy advisor to Vice
         President Joe Biden and as Director for Russia at the National Security Council.

d.       James Clapper served as U.S. Director of National Intelligence from 2010 to January 20,
         2017.

e.       Philip H. Gordon served as Assistant Secretary of State for European and Eurasian
         Affairs from 2009 to 2013. He also served as Special Assistant to the President and
         White House Coordinator for the Middle East, North Africa and the Gulf; and Director
         for European Affairs at the National Security Council.

f.       Avril D. Haines served as Deputy National Security Advisor to the President of the
         United States from 2015 to January 20, 2017. From 2013 to 2015, she served as Deputy
         Director of the Central Intelligence Agency.

g.       Steven L. Hall retired from the Central Intelligence Agency in 2015 after 30 years of
         running and managing intelligence operations in Eurasia and Latin America. Mr. Hall
         was responsible for CIA Russian operations, overseeing intelligence operations in the
         countries of the former Soviet Union and the former Warsaw Pact.

h.       General (ret.) Michael V. Hayden, USAF, served as Director of the Central Intelligence
         Agency from 2006 to 2009. From 1995 to 2005, he served as Director of the National
         Security Agency.

i.       Michael McFaul served as U.S. Ambassador to the Russian Federation from January
         2012 to February 2014. Before becoming ambassador, he served for three years as a




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         special assistant to the president and senior director for Russian and Eurasian Affairs at
         the National Security Council.

j.       Michael J. Morell served as Acting Director of the Central Intelligence Agency in 2011
         and from 2012 to 2013; as Deputy Director of the Central Intelligence Agency from 2010
         to 2013; and as a career official from 1980 onward. His duties included briefing
         Presidents George W. Bush and Barack Obama.

k.       Stephen Sestanovich served from 1997 to 2001 as ambassador-at-large and special
         adviser to the Secretary of State for the new independent states (including Russia) of the
         former Soviet Union. Earlier, he served as senior director for policy development (from
         1985 to 1987); director of political-military affairs from (1984 to 1985) at the National
         Security Council.

l.       John Sipher retired in 2014 after a 28-year career in the Central Intelligence Agency’s
         National Clandestine Service. John served multiple overseas tours as Chief of Station and
         Deputy Chief of Station in Europe, Asia, Southeast Asia, the Balkans, and South Asia.

m.       Julianne Smith served as Deputy National Security Advisor to Vice President Joe Biden
         from 2012 to 2013. Before her post at the White House, she served for three years
         as the Principal Director for European and NATO Policy in the Office of the
         Secretary of Defense in the Pentagon.

n.       Strobe Talbott served as Deputy Secretary of State from 1994 to 2001.

         4.     Counsel for proposed amici sought the consent of counsel for the Plaintiffs and

the Defendant for the relief requested by this Motion. Counsel for the Plaintiffs consented to the

relief requested by this Motion. Counsel for the Defendant took no position on the relief

requested by this Motion.

         5.     A similar motion to grant leave to file the attached amicus brief was granted by

the U.S. District Court for the District of Columbia in the earlier proceedings of this case in that

court. See Minute Order, Cockrum v. Donald J. Trump for President, Inc., No. 17-cv-01370-

ESH (D.D.C. Dec. 9, 2017).

         6.     This Motion seeking leave to file the attached amicus curiae brief in support of

Plaintiffs, is filed well in advance of the close of briefing on defendants’ motion to dismiss and

any hearing by this Court, and so does not unduly delay the Court’s ability to rule on any matter.


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The Motion is also filed well in advance of the time table established by the Federal Rules of

Appellate Procedure for the filing of amicus briefs. See Fed. R. App. P. 29(a)(6) (establishing

deadline of seven days after the appellant’s or petitioner’s principal brief is filed in cases where

an amicus brief does not support either party).

       7.      Proposed amici therefore respectfully request leave to file an amicus brief in

support of neither party.


Dated: November 8, 2018

                                                       Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I, Ivan Yacub, hereby certify that on November 8, 2018, the foregoing document was

filed and served through the CM/ECF system.

                                              Respectfully submitted,

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